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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION                                                               ENTERED
                                                                                                                    12/05/2018
In re:                                                     §
HOU-TEX BUILDERS, LLC, et al., 1                           §             Case No. 18-34658
                                                                         Chapter 11
                                                           §
                  DEBTORS.
                                                           §
                                                           §
                                                           §

             FINAL ORDER AUTHORIZING DEBTORS TO OBTAIN CREDIT
              PURSUANT TO SECOND FUNDING COMMITMENT LETTER

         The Court, having considered the Motion for Authority To Obtain Credit Pursuant to Second

Funding Commitment Letter [Dkt. No. 134] (the “Motion”) and the Notice of Proposed Final Order

Authorizing Debtors To Obtain Credit Pursuant to Second Funding Commitment Letter [Dkt. No. ____] (the

“Notice”) filed by Houtex Builders, LLC; 415 Shadywood, LLC and 2203 Looscan Lane, LLC

(collectively, the “Debtors”)2 any responses to the Motion and Notice, the statements of counsel,

and the record in this case, and having held a hearing on the Motion, finds that: (a) it has jurisdiction

over this matter pursuant to 28 U.S.C. § 1334; (b) this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); (c) the relief requested in the Motion is in the best interests of the Debtors’ estates,

their creditors, and other parties-in-interest; (d) proper and adequate notice of the Motion and

hearing thereon has been given and no other or further notice is necessary; and (e) good and

sufficient cause exists for the granting of the relief requested. Therefore, it is ORDERED that:




1        The names of the debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are: Houtex Builders, LLC (2111), 2203 Looscan, LLC (1418) and 415 Shadywood, LLC
         (7627).
2        Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



ORDER AUTHORIZING DEBTOR TO OBTAIN CREDIT
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        1.      The Debtors are authorized to borrow funds from Charles C. Foster (the “Lender”)

pursuant to the terms of the commitment letter attached hereto as Exhibit A (the “Commitment

Letter”) as follows:

                A.     The Debtor Houtex Builders, LLC (“Houtex”) is authorized to incur debt in the

        principal sum not to exceed $106,521.00 (the actual amount borrowed together with interest,

        the “Houtex Loan”) and shall be entitled to use the proceeds to pay all ordinary and

        necessary expenses in the ordinary course of its business for the purposes contained in the

        budget (the “Houtex Budget”) attached as Exhibit B-1 to the Commitment Letter.

                B. The Debtor 215 Shadywood, LLC (“Shadywood”) is authorized to incur debt in

        the principal sum not to exceed $55,887.00 (the actual amount borrowed together with

        interest, the “Shadywood Loan”) and shall be entitled to use the proceeds to pay all ordinary

        and necessary expenses in the ordinary course of its business for the purposes contained in

        the budget (the “Shadywood Budget”) attached as Exhibit B-2 to the Commitment Letter.

                C. The Debtor 2203 Looscan, LLC (“Looscan”) is authorized to incur debt in the

        principal sum not to exceed $55,666.00 (the actual amount borrowed together with interest,

        the “Looscan Loan”) and shall be entitled to use the proceeds to pay all ordinary and

        necessary expenses in the ordinary course of its business for the purposes contained in the

        budget (the “Looscan Budget” and together with the Houtex Budget and Shadywood

        Budget, the “Budgets”) attached as Exhibit B-3 to the Commitment Letter.

        2.      If there is a delay in payment of certain amounts provided for under the Budgets

because such amounts require Bankruptcy Court approval or there is another reason for delay in the

payment, then such amounts are still authorized under the Budgets even if not paid for in the week

allocated on the Budget so long as the total amount for such item does not exceed the budgeted

amount for such item for all the periods on and prior to the actual week such item is paid.
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        3.      The Lender’s claim, including reasonable attorneys’ fees in the event of a default,

against each Debtor will be an allowed administrative expense claim which shall have priority over

any or all administrative expenses of the kind specified in section 503(b) or 507(b) of this title with

respect to such Debtor, provided that the administrative expense claim will be subject to and

subordinate to the administrative expense claims for the items incurred and paid for pursuant to the

Budgets.

        4.      The Lender is hereby granted a lien on property of the Debtors’ estates that is not

otherwise subject to a lien.

        5.      The Lender is granted a junior lien on property of the estate that is subject to a lien;

provided that the Debtors reserve their rights to challenge the validity of any pre-petition liens and

associated claims and/or avoid the liens by an avoidance action.

        6.      The liens granted to the Lender for the Houtex Loan are on the property of Houtex,

the liens granted to the Lender for the Shadywood Loan are on the property of Shadywood, and the

liens granted to the Lender for the Looscan Loan are on the property of Looscan; the liens are not

cross-collateralized between the Debtors.

        7.      As adequate protection for Spirit of Texas Bank and Community Bank of Texas,

Debtor Houtex Builders, LLC is authorized to make adequate protection payments as follows:

(a) principal and interest payments to Spirit of Texas Bank and Community Bank on account of

their first-lien construction loans on the property known as 3 Thornblade and the property known

as 2325 Lynbrook, respectively, (b) principal and interest payment to Spirit of Texas Bank on

account of the secured promissory note in the original principal amount of $1.6 million dated May

30, 2014 and (c) interest-only payment to Spirit of Texas Bank on account of the secured line of

credit; the foregoing in the amounts set forth below and shown in the line item “Adequate

Protection Payments on Pre‐Petition Secured Debt” in the Houtex Budget:
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                         Week of 12/5/2018
                           Community Bank (Lynbrook note)         26,385.00
                           Spirit of Texas ($1.6MM note)          33,323.00
                           Spirit of Texas (LOC)                    6,342.26
                           Spirit of Texas (Thornblade)           16,153.00
                                                                  82,203.26
                         Weeks of 1/5/2019 and 2/5/2019
                           Community Bank (Lynbrook note)           8,777.00
                           Spirit of Texas (Nored note)           22,052.00
                           Spirit of Texas (LOC)                    3,861.00
                                                                  34,690.00

       8.      The Debtor Houtex Builders, LLC is authorized to (a) enter into a modification of

the Spirit of Texas Bank note dated May 30, 2014 in the original principal amount of $1.6 million to

extend the maturity date of such note to March 30, 2019 and (b) enter into a modification of the

Spirit of Texas Bank line of credit to extend the maturity date to March 30, 2019; provided that,

such modifications shall not increase the interest rate on such loans and provided further that the

Debtor shall not be responsible for any fees related to such modifications.

       9.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted by this order.

       10.     This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation of this order.



SIGNED this              day of          , 2018.

                         December
                          November05, 2018
                                  01, 2018
                                                    UNITED STATES BANKRUPTCY JUDGE
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                            Exhibit A

                    Second Commitment Letter
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/HQGHU DQ\ OHJDO RU HTXLWDEOH ULJKW EHQHILW RU UHPHG\ RI DQ\ QDWXUH ZKDWVRHYHU XQGHU RU E\
UHDVRQRIWKLVOHWWHUDJUHHPHQW

        *RYHUQLQJ /DZ 6XEPLVVLRQ WR -XULVGLFWLRQ 9HQXH 7KLV FRPPLWPHQW OHWWHU VKDOO EH
JRYHUQHG E\ DQG FRQVWUXHG LQ DFFRUGDQFH ZLWK WKH LQWHUQDO ODZV RI WKH 6WDWH RI 7H[DV ZLWKRXW
JLYLQJ HIIHFW WR DQ\ FKRLFH RU FRQIOLFW RI ODZ SURYLVLRQ RU UXOH  7KH SDUWLHV DJUHH WKDW WKH
%DQNUXSWF\&RXUWKDVDXWKRULW\WRLQWHUSUHWDQGHQIRUFHWKHWHUPVRIWKLVFRPPLWPHQWOHWWHU7KH
SDUWLHVLUUHYRFDEO\DQGXQFRQGLWLRQDOO\ZDLYHDQ\REMHFWLRQWRWKHOD\LQJRIYHQXHRIDQ\VXLW
DFWLRQ RU SURFHHGLQJ LQ WKH %DQNUXSWF\ &RXW DQG LUUHYRFDEO\ ZDLYH DQG DJUHH QRW WR SOHDG RU
FODLPWKDWDQ\VXFKVXLWDFWLRQRUSURFHHGLQJEURXJKWLQWKH%DQNUXSWF\&RXUWKDVEHHQEURXJKW
LQDQLQFRQYHQLHQWIRUXP

         :DLYHURI-XU\7ULDO(DFKSDUW\LUUHYRFDEO\DQGXQFRQGLWLRQDOO\ZDLYHVDQ\ULJKWLWPD\
KDYHWRDWULDOE\MXU\LQUHVSHFWRIDQ\OHJDODFWLRQDULVLQJRXWRIRUUHODWLQJWRWKLVFRPPLWPHQW
OHWWHURUWKHWUDQVDFWLRQVFRQWHPSODWHGKHUHE\

       1R $VVLJQPHQW 7KH &RPPLWPHQW HYLGHQFHG E\ WKLV FRPPLWPHQW OHWWHU VKDOO QRW EH
DVVLJQDEOHE\/HQGHUZLWKRXWWKH'HEWRUV¶SULRUZULWWHQFRQVHQW

        &RXQWHUSDUWV 7KLV FRPPLWPHQW OHWWHU PD\ EH H[HFXWHG LQ FRXQWHUSDUWV HDFK RI ZKLFK
VKDOOEHGHHPHGDQRULJLQDOEXWDOORIZKLFKWRJHWKHUVKDOOEHGHHPHGWREHRQHDQGWKHVDPH
DJUHHPHQW $ VLJQHG FRS\ RI WKLV OHWWHU GHOLYHUHG E\ IDFVLPLOH HPDLO RU RWKHU PHDQV RI
HOHFWURQLFWUDQVPLVVLRQVKDOOEHGHHPHGWRKDYHWKHVDPHOHJDOHIIHFWDVGHOLYHU\RIDQRULJLQDO
VLJQHGFRS\RIWKLVFRPPLWPHQWOHWWHU

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         Case 18-34658 Document 175 Filed in TXSB on 12/05/18 Page 11 of 20




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,WHP                                  'DWH                                               $PRXQW
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5HSDLUV                                                                            
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                             DSSOLFDWLRQDQGIHHDSSOLFDWLRQIRU6FKPXFN6PLWK7HHV&R3&
         Case 18-34658 Document 175 Filed in TXSB on 12/05/18 Page 12 of 20




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,WHP                                  'DWH                                               $PRXQW
8WLOLWLHV                                                                         
3URIHVVLRQDOIHHV                                                                
,QVXUDQFHSUHPLXP                                                                  
867UXVWHHIHHV                                                                    
7RWDO                                                                                     
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       $FFRXQWLQJIHHVLQFXUUHGE\6FKPXFN6PLWK7HHV&R3&IRUWKHEHQHILWRIWKH'HEWRUVXEMHFWWRUHWHQWLRQ
                             DSSOLFDWLRQDQGIHHDSSOLFDWLRQIRU6FKPXFN6PLWK7HHV&R3&
         Case 18-34658 Document 175 Filed in TXSB on 12/05/18 Page 13 of 20




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5HSDLUV                                                                           
3URIHVVLRQDOIHHV                                                                
,QVXUDQFHSUHPLXP                                                                  
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6HFXULW\                                                                           
7RWDO                                                                                     
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                             DSSOLFDWLRQDQGIHHDSSOLFDWLRQIRU6FKPXFN6PLWK7HHV&R3&
Case 18-34658 Document 175 Filed in TXSB on 12/05/18 Page 14 of 20




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HoutexȱBuildersȱLLC
WeeklyȱCashȱForecast
                                   11/18/2018                                           12                  12                   12                  12                     1                      1                   1                   1                    1                    2                     2                     2                   2
                                                                   Weekȱ#    0          14                  15                   16                  17                    18                     19                   20                  21                  22                   23                    24                    25                   26              #ȱofȱDays
                                                                WeekȱStart        11/19/2018          11/24/2018            12/1/2018           12/8/2018            12/15/2018             12/22/2018           12/29/2018            1/5/2019           1/12/2019            1/19/2019             1/26/2019              2/2/2019             2/9/2019                177
                                                               WeekȱEnded         11/24/2018           12/1/2018            12/8/2018          12/15/2018            12/22/2018             12/29/2018             1/5/2019           1/12/2019           1/19/2019            1/26/2019              2/2/2019              2/9/2019            2/16/2019             Total
CASHȱRECEIPTS
 SalesȱProceeds,ȱnetȱofȱclosingȱcosts                                        $                                                                                                                                                                                                                                                                                           –
                                                                             $                                                                                                                                                                                                                                                                                           –

 DIPȱCASHȱRECEIPTS
TotalȱDIPȱAvailability                                                       $       265,500              205,165             121,012             107,967                 105,902               104,629               67,339              54,294              52,229               50,956                 15,031               12,756               (2,207)


   DIPȱBalance                                                               $               –             59,335               60,335            144,488                 157,533               159,598             160,871             198,161              211,206              213,271                214,544              250,469             252,744            252,744
   Draw/(Repayment)ȱofȱDIP                                                   $          1,273                1,000              84,153              13,045                   2,065                 1,273              37,290              13,045                2,065                1,273                35,925                 2,275              14,963           209,645


EndingȱDIPȱBalance                                                           $        59,335               60,335             144,488             157,533                 159,598               160,871             198,161             211,206              213,271              214,544                250,469              252,744             267,707


                                                TOTALȱSOURCESȱOFȱCASH        $   $ȱȱȱȱȱȱȱȱȱȱȱ1,273   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,000   $ȱȱȱȱȱȱȱȱȱȱ84,153   $ȱȱȱȱȱȱȱȱȱȱ13,045   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ2,065   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,273   $ȱȱȱȱȱȱȱȱȱȱ37,290   $ȱȱȱȱȱȱȱȱȱȱ13,045   $ȱȱȱȱȱȱȱȱȱȱȱȱ2,065   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,273   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ35,925   $ȱȱȱȱȱȱȱȱȱȱȱȱ2,275   $ȱȱȱȱȱȱȱȱȱȱ14,963   $ȱȱȱȱȱȱȱȱȱȱȱ209,645


CASHȱDISBURSEMENTS
 G&AȱExpenses                                                                $          1,000                1,000               1,000               2,275                   1,000                 1,000               1,000               2,275                1,000                1,000                  1,000                2,275               1,000            16,825
 Constructionȱvendor/supplierȱpayments                                       $                                                                                                                                                                                                                                                                                           –
 Utilitesȱandȱinsurance                                                      $            273                                      950                                       1,065                   273                 950                                    1,065                  273                    235                                      500            5,584
                                            TOTALȱOPERATINGȱEXPENSES         $          1,273                1,000               1,950               2,275                   2,065                 1,273               1,950               2,275                2,065                1,273                  1,235                2,275               1,500            22,409


CHAPTERȱ11ȱRELATEDȱEXPENSES
 U.S.ȱTrustee                                                                $               –                    –                    –                    –                      –                     –                 650                    –                   –                    –                     –                     –                    –           650
 DebtorȱLegalȱFees                                                           $               –                    –                    –            10,770                         –                     –                    –           10,770                      –                    –                     –                     –            13,463            35,003
 AdequateȱProtectionȱPaymentsȱonȱPreȬPetitionȱSecuredȱDebt                   $               –                    –             82,203                      –                      –                     –            34,690                      –                   –                    –              34,690                       –                    –         151,583
                                TOTALȱCHAPTERȱ11ȱRELATEDȱEXPENSES            $               –                    –             82,203              10,770                         –                    –             35,340              10,770                     –                    –               34,690                      –             13,463           187,236


                                                   TOTALȱUSESȱOFȱCASH        $          1,273                1,000              84,153              13,045                   2,065                 1,273              37,290              13,045                2,065                1,273                35,925                 2,275              14,963




                                                      BEGINNINGȱCASH         $               –                    –                   –                   ($0)                  ($0)                   ($0)                 ($0)                ($0)                ($0)                 ($0)                  ($0)                  ($0)                 ($0)


                                                             ENDINGȱCASH     $               –                    –                   (0)                  (0)                    (0)                   (0)                  (0)                 (0)                 (0)                  (0)                   (0)                   (0)                  0
                                                                                                                                                                                                                                                                                                                                                                                        Case 18-34658 Document 175 Filed in TXSB on 12/05/18 Page 15 of 20
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415ȱShadywoodȱLLC
WeeklyȱCashȱForecast
                                    11/18/2018                                          12                   12                    12                   12                      1                        1                       1                       1                      1                       2                       2                       2                       2
                                                                   Weekȱ#    0          1                    2                     3                     4                      5                        6                       7                       8                      9                      10                      11                      12                      13                #ȱofȱDays
                                                                WeekȱStart        11/19/2018           11/24/2018            12/1/2018             12/8/2018             12/15/2018                12/22/2018              12/29/2018               1/5/2019              1/12/2019               1/19/2019               1/26/2019                2/2/2019                2/9/2019                   89
                                                               WeekȱEnded         11/24/2018           12/1/2018             12/8/2018            12/15/2018             12/22/2018                12/29/2018               1/5/2019               1/12/2019              1/19/2019               1/26/2019                2/2/2019                2/9/2019               2/16/2019               Total
CASHȱRECEIPTS
 SalesȱProceeds,ȱnetȱofȱclosingȱcostsȱandȱfirstȱlien                         $                                                                                                          –                                                                                                                                                                                                            –
                                                                             $                                                                                                                                                                                                                                                                                                                       –

 DIPȱCASHȱRECEIPTS
TotalȱDIPȱAvailability                                                       $       121,000                52,533                51,130               36,645                   35,645                   34,645                  32,995                 19,950                  18,950                  17,950                  16,950                  14,675                      212


   DIPȱBalance                                                               $               –              66,454                68,467               69,870                   84,355                   85,355                  86,355                 88,005                101,050                 102,050                 103,050                 104,050                 106,325            106,325
   Draw/(Repayment)ȱofȱDIP                                                   $          1,553                2,013                 1,403               14,485                     1,000                   1,000                   1,650                 13,045                   1,000                   1,000                   1,000                   2,275                 14,463             55,887


EndingȱDIPȱBalance                                                           $        66,454                68,467                69,870               84,355                   85,355                   86,355                  88,005                101,050                102,050                 103,050                 104,050                 106,325                 120,788


                                                   TOTALȱSOURCESȱOFȱCASH     $   $ȱȱȱȱȱȱȱȱȱȱȱ1,553   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ2,013   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ1,403   $ȱȱȱȱȱȱȱȱȱȱȱ14,485   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,000   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,000   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,650   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ13,045   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,000   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,000   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,000   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ2,275   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ14,463   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ55,887


CASHȱDISBURSEMENTS
 G&AȱExpenses                                                                $          1,000                1,000                 1,000                 2,275                    1,000                   1,000                   1,000                   2,275                  1,000                   1,000                   1,000                   2,275                   1,000            16,825
 Constructionȱvendor/supplierȱpayments                                       $              553                  403                   403               1,396                                                                                                                                                                                                                                    2,755
 Utilitesȱandȱinsurance                                                      $                                   610                                         44                                                                                                                                                                                                                                     654

                                               TOTALȱOPERATINGȱEXPENSES      $          1,553                2,013                 1,403                 3,715                    1,000                   1,000                   1,000                   2,275                  1,000                   1,000                   1,000                   2,275                   1,000            20,234


CHAPTERȱ11ȱRELATEDȱEXPENSES
 U.S.ȱTrustee                                                                $                –                    –                     –                    –                         –                       –                    650                       –                       –                       –                       –                       –                      –              650
 DebtorȱLegalȱFees                                                           $                –                    –                     –             10,770                           –                       –                       –               10,770                         –                       –                       –                       –               13,463              35,003
 FirstȱLienȱLenderȱInterestȱExpenseȱandȱLenderȱFees                          $                –                    –                     –                    –                         –                       –                       –                      –                       –                       –                       –                       –                      –               –
                                 TOTALȱCHAPTERȱ11ȱRELATEDȱEXPENSES           $               –                     –                     –             10,770                           –                       –                    650                10,770                         –                       –                       –                       –               13,463             35,653


                                                       TOTALȱUSESȱOFȱCASH    $          1,553                2,013                 1,403               14,485                     1,000                   1,000                   1,650                 13,045                   1,000                   1,000                   1,000                   2,275                 14,463




                                                         BEGINNINGȱCASH      $               –                     –                     –                    –                      ($0)                    ($0)                    ($0)                    ($0)                   ($0)                    ($0)                    ($0)                    ($0)                    ($0)


                                                            ENDINGȱCASH      $               –                     –                     –                   (0)                       (0)                     (0)                     (0)                    (0)                     (0)                     (0)                     (0)                     (0)                     0
                                                                                                                                                                                                                                                                                                                                                                                                                     Case 18-34658 Document 175 Filed in TXSB on 12/05/18 Page 17 of 20
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2203ȱLooscanȱLLC
WeeklyȱCashȱForecast
                                   11/18/2018                                          12                   12                    12                   12                      1                        1                       1                       1                      1                       2                       2                       2                       2
                                                                  Weekȱ#    0          1                    2                     3                     4                      5                        6                       7                       8                      9                      10                      11                      12                      13                #ȱofȱDays
                                                               WeekȱStart        11/19/2018           11/24/2018            12/1/2018             12/8/2018             12/15/2018                12/22/2018              12/29/2018               1/5/2019              1/12/2019               1/19/2019               1/26/2019                2/2/2019                2/9/2019                   89
                                                              WeekȱEnded         11/24/2018           12/1/2018             12/8/2018            12/15/2018             12/22/2018                12/29/2018               1/5/2019               1/12/2019              1/19/2019               1/26/2019                2/2/2019                2/9/2019               2/16/2019               Total
CASHȱRECEIPTS
 SalesȱProceeds,ȱnetȱofȱclosingȱcosts                                       $                                                                                                          –                                                                                                                                                                                                            –
                                                                            $                                                                                                                                                                                                                                                                                                                       –

 DIPȱCASHȱRECEIPTS
TotalȱDIPȱAvailability                                                      $       117,000                53,168                51,771               37,336                   35,909                   34,909                  33,259                 20,214                  19,214                  18,214                  17,214                  14,939                      476


   DIPȱBalance                                                              $               –              62,435                63,832               65,229                   79,664                   81,091                  82,091                 83,741                  96,786                  97,786                  98,786                  99,786                102,061            102,061
   Draw/(Repayment)ȱofȱDIP                                                  $          1,577                1,397                 1,397               14,435                     1,427                   1,000                   1,650                 13,045                   1,000                   1,000                   1,000                   2,275                 14,463             55,666


EndingȱDIPȱBalance                                                          $        62,435                63,832                65,229               79,664                   81,091                   82,091                  83,741                 96,786                  97,786                  98,786                  99,786                102,061                 116,524


                                                TOTALȱSOURCESȱOFȱCASH       $   $ȱȱȱȱȱȱȱȱȱȱȱ1,577   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ1,397   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ1,397   $ȱȱȱȱȱȱȱȱȱȱȱ14,435   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,427   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,000   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,650   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ13,045   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,000   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,000   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,000   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ2,275   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ14,463   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ55,666


CASHȱDISBURSEMENTS
 G&AȱExpenses                                                               $          1,000                1,000                 1,000                 2,275                    1,000                   1,000                   1,000                   2,275                  1,000                   1,000                   1,000                   2,275                   1,000            16,825
 Constructionȱvendor/supplierȱpayments                                      $              547                  397                   397               1,390                      397                                                                                                                                                                                                           3,128
 Utilitesȱandȱinsurance                                                     $               30                                                                                       30                                                                                                                                                                                                            60

                                            TOTALȱOPERATINGȱEXPENSES        $          1,577                1,397                 1,397                 3,665                    1,427                   1,000                   1,000                   2,275                  1,000                   1,000                   1,000                   2,275                   1,000            20,013


CHAPTERȱ11ȱRELATEDȱEXPENSES
 U.S.ȱTrustee                                                               $                –                    –                     –                    –                         –                       –                    650                       –                       –                       –                       –                       –                      –              650
 DebtorȱLegalȱFees                                                          $                –                    –                     –             10,770                           –                       –                       –               10,770                         –                       –                       –                       –               13,463              35,003
 FirstȱLienȱLenderȱInterestȱExpenseȱandȱLenderȱFees                         $                –                    –                     –                    –                         –                       –                       –                      –                       –                       –                       –                       –                      –               –
                                TOTALȱCHAPTERȱ11ȱRELATEDȱEXPENSES           $               –                     –                     –             10,770                           –                       –                    650                10,770                         –                       –                       –                       –               13,463             35,653


                                                      TOTALȱUSESȱOFȱCASH    $          1,577                1,397                 1,397               14,435                     1,427                   1,000                   1,650                 13,045                   1,000                   1,000                   1,000                   2,275                 14,463




                                                        BEGINNINGȱCASH      $               –                     –                     –                    –                      ($0)                    ($0)                    ($0)                    ($0)                   ($0)                    ($0)                    ($0)                    ($0)                    ($0)


                                                           ENDINGȱCASH      $               –                     –                     –                   (0)                       (0)                     (0)                     (0)                    (0)                     (0)                     (0)                     (0)                     (0)                     0
                                                                                                                                                                                                                                                                                                                                                                                                                    Case 18-34658 Document 175 Filed in TXSB on 12/05/18 Page 19 of 20
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                            Exhibit B

                             Redline
